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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address

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Rika M. Kido - Bar No. 273780
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        RKido@shbllp.com


         Individual appearing without an attorney
         Attorney for: Lynda T. Bui, Chapter 7 Trustee

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION DIVISION

    In re:                                                                      CASE NO.: 6:16-bk-16877-WJ
                                                                                CHAPTER: 7
RUSSEL DENNIS HILES, III,

                                                                            NOTICE OF LODGMENT OF ORDER IN
                                                                            BANKRUPTCY CASE RE: (title of motion 1):
                                                                            Motion for Order: (1) Approving the Sale of Real
                                                                            Property of the Estate Free and Clear of Liens
                                                                  'HEWRUV Pursuant to Bankruptcy Code§§ 363, et al.


PLEASE TAKE NOTE that the order titled Order Granting Chapter 7 Trustee's Motion and 1) Approving the Sale of Real
Property of the Estate Free and Clear of Liens Pursuant to Bankruptcy Code §§ 363(b)(1) and (f); 2) Approving Sale of
Personal Property Free and Clear of Liens Pursuant to Bankruptcy Code §§ 363(b)(1) and (f), et al.
was lodged on (date) 10/25/2018       and is attached. This order relates to the motion which is docket number35 6 .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
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                       1 Leonard M. Shulman - Bar No. 126349
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                         Email:          LShulman@shbllp.com
                       5                 RKido@shbllp.com

                      6 Attorneys for Lynda T. Bui,
                        Chapter 7 Trustee
                      7
                                                 UNITED STATES BANKRUPTCY COURT
                      8
                                                   CENTRAL DISTRICT OF CALIFORNIA
                      9
                                                        RIVERSIDE DIVISION
                     10

                     11 In re                                                Case No. 6:16-bk-16877-WJ

                     12 RUSSEL DENNIS HILES, III,                            CHAPTER 7

                     13                          Debtor.                     ORDER GRANTING CHAPTER 7
                                                                             TRUSTEE’S MOTION AND:
                     14
                                                                             (1) APPROVING THE SALE OF REAL
                     15                                                          PROPERTY OF THE ESTATE FREE AND
                                                                                 CLEAR OF LIENS PURSUANT TO
                     16                                                          BANKRUPTCY CODE §§ 363(b)(1) and (f);

                     17                                                      (2) APPROVING SALE OF PERSONAL
                                                                                 PROPERTY FREE AND CLEAR OF
                                                                                 LIENS PURSUANT TO BANKRUPTCY
                     18                                                          CODE §§ 363(b)(1) and (f);
                     19                                                      (3) APPROVING PAYMENT OF REAL
                                                                                 ESTATE COMMISSION AND OTHER
                     20                                                          COSTS; AND

                     21                                                      (4) GRANTING RELATED RELIEF

                     22                                                      [Real Property commonly known at 66876 Gist
                                                                             Road, Bend, Oregon 97703]
                     23
                                                                             Hearing:
                     24                                                      Date:    October 23, 2018
                                                                             Time:    1:00 p.m.
                     25                                                      Ctrm.: 304
                                                                             Place: United States Bankruptcy Court
                     26                                                               3420 Twelfth Street
                                                                                      Riverside, CA 92501
                     27

                     28
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600                                                              1
    Irvine, CA 92618        5401-000\1290586.1
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                       1               On October 23, 2018, the Court held a hearing on the “Motion for Order: (1) Approving the

                       2 Sale of Real Property of the Estate Free and Clear of Certain Liens Pursuant to Bankruptcy Code §§

                       3 363(b)(1) and (f), Subject to Overbids, Combined With Notice of Bidding Procedures and Request

                       4 for Approval of the Bidding Procedures Utilized; (2) Approving Sale of Personal Property Free and

                       5 Clear of All Liens, Claims and Encumbrances Pursuant to 11 U.S.C. § 363(f); (3) Approving

                       6 Payment of Real Estate Commission and Other Costs; and (3) Granting Related Relief” [docket

                       7 #356] (“Sale Motion”) filed by Lynda T. Bui, Chapter 7 Trustee (“Trustee”) for the bankruptcy

                       8 estate of Russel Dennis Hiles, III (“Debtor”).

                       9               Rika M. Kido of Shulman Hodges & Bastian LLP appeared on behalf of the Trustee, who

                     10 was present. Josh Hansen of Strategic Realty, LLC also appeared in his capacity as the Trustee’s

                     11 broker. Samuel Kornhauser of Law Offices of Samuel Kornhauser appeared on behalf of Creditor,

                     12 Christopher Borgeson (“Creditor”). No other parties appeared as reflected on the Court’s record.

                     13                The Court having considered the Sale Motion, the declarations attached to the Sale Motion,

                     14 Creditor’s objection to the Sale Motion [docket # 364], and Trustee’s reply to Creditor’s objection

                     15 [docket # 372], the arguments and representations of counsel, and the record in this case; the Court

                     16 having found proper notice has been given; and good cause having been shown, it is ORDERED as

                     17 follows:

                     18                1.        The Sale Motion is granted.

                     19                2.        The Bidding Procedures are not approved since there were no overbids.

                     20                3.        The Trustee is authorized to sell to Drew Hood (“Buyer”) or his assignee1, for the

                     21 sum of $1,995,000.00, the Estate’s interest in the real property located at 17345 Plainview Road,

                     22 Bend, OR 97703, 17265 Plainview Road, Bend, OR 97703, 66876 Gist Road, Bend, OR 97703, and

                     23 66822 Gist Road, Bend OR 97703 (“Bend Property”). The Bend Property is legally described as

                     24 follows:2

                     25                Parcel 1:
                     26

                     27     1
                                Any assignee needs prior approval by the Trustee.
                     28     2
                              The legal description for the Bend Property is believed to be accurate but may be corrected or updated by the title
 SHULMAN HODGES &           company in the transfer documents as necessary to complete the proposed sale transaction.
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                       2
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                       1             A Parcel of land situated in the Southwest Quarter (SW1/4) of Section 31, Township
                                     15 South, Range 11, East of the Willamette Meridian, Deschutes County, Oregon,
                       2             described as follows:

                       3             That portion of the Southeast Quarter of the Southwest Quarter (SE1/4 SW1/4) of
                                     said Section 31, lying South of Plainview Road and lying West of Sisemore Road
                       4             and lying North of that certain parcel of land described in Volume 132, Page 421, of
                                     Deed Records.
                       5
                                     Parcel 2:
                       6
                                     Parcel 2 of Partition Plat No. 2000-55, Plat filed October 13, 2000 in the office of the
                       7             County Clerk for Deschutes County, Oregon.

                       8             Parcel 3:

                       9             Parcel 1 of Partition Plat 2000-55, Plat filed October 13, 2000 in the office of the
                                     County Clerk for Deschutes County, Oregon.
                     10

                     11              4.          The Trustee is authorized to sell to the Buyer, for the sum of $10,000.00, the Estate’s

                     12 interest in the Personal Property (defined in the Sale Motion), with closing of the sale to be on or

                     13 before ten (10) days from the entry of this Order, unless extended by the Trustee at her full

                     14 discretion.

                     15              5.          The sale of the Bend Property to the Buyer shall be on the terms and conditions as

                     16 set forth in the Residential Real Estate Sale Agreement and related addendum (collectively the

                     17 “Agreement”), a copy of which is attached as Exhibit 3 to the Declaration of Lynda T. Bui annexed

                     18 to the Sale Motion, and shall close, with Buyer tendering the full purchase price, not more than ten

                     19 (10) calendar days after the entry of this Order, unless extended by the Trustee at her full discretion.

                     20              6.          The sale of the Bend Property and Personal Property is “as is-where is” without

                     21 warranties of any kind, express or implied, being given by the Trustee.

                     22              7.          The sale of the Bend Property and the Personal Property is free and clear of liens

                     23 pursuant to 11 U.S.C. § 363(f), with liens not satisfied through the sale to attach to the sale proceeds

                     24 in the same validity and priority as prior to the closing of the sale.

                     25              8.          The Trustee is authorized to: (a) perform under, consummate, and implement the

                     26 Agreement, (b) execute all additional instruments and documents that may be reasonably necessary

                     27 or desirable to implement the Agreement and the transactions contemplated by the Agreement, (c)

                     28 take all further actions as may be reasonably necessary or appropriate for the purposes of assigning,
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                      3
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                       1 transferring, granting, conveying, encumbering or transferring the Bend Property as contemplated

                       2 by the Agreement, and (d) take such other and further reasonable steps as contemplated by the

                       3 Agreement or reasonably required to fulfill the Trustee's obligations under the Agreement. The

                       4 Trustee is authorized to execute all documents in connection with the sale transaction approved by

                       5 this Order on behalf of the Trustee.

                       6             9.          The Trustee is authorized to pay from the proceeds of the sale of the Property all

                       7 ordinary and customary costs of sale, including escrow fees.

                       8             10.         Through escrow on the sale of the Property, the Trustee is authorized to pay the real

                       9 estate commission in the amount of five percent (5%) of the gross selling price of the Property to

                     10 be split as follows: 1% for the Estate, 2% for the Trustee’s Broker (Strategic Realty, LLC) and 2%

                     11 for the Selling Broker (Keller Williams Central Oregon).

                     12              11.         The Trustee is authorized to pay liens, costs of sale and other expenses directly from

                     13 the sale proceeds at the close of escrow including: (i) all real estate taxes owed to the Deschutes

                     14 County Treasurer and Tax Collector, (ii) exclusive farm use tax liabilities owed to the Deschutes

                     15 County Treasurer and Tax Collector, (iii) all amounts owed to Sun Mountain Water Systems; (iv)

                     16 all amounts owed to Bank of America, N.A., (v) real estate commission not to exceed five percent

                     17 (5%), and (vi) escrow fees which shall be split between Buyer and Estate in the manner customary

                     18 in the County where the Bend Property is located (Deschutes County, Oregon).

                     19              12.         The Trustee is authorized to use the proceeds from the sale of the Bend Property to

                     20 (i) reimburse the Broker’s costs related to the Bend Property in the amount not to exceed $2,000.00,

                     21 and (ii) pay the Estate’s liability insurance premium in the amount of $14,049.10.

                     22              13.         This Court shall and hereby does retain jurisdiction to (a) enforce and implement the

                     23 terms and provisions of the Purchase Agreement, all amendments thereto, any waivers and consents

                     24 thereunder, and any other supplemental documents or agreements executed in connection therewith;

                     25 (b) resolve any disputes, controversies or claims arising out of or relating to the Purchase

                     26 Agreement; and (c) interpret, implement, and enforce the provisions of this Order.

                     27              14.         In recognition of the need to effectuate a closing of the sale as quickly as possible,

                     28 notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective immediately.
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
    Irvine, CA 92618
                            5401-000\1290586.1                                     4
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                       1             15.         The Buyer is found to be a buyer in “good faith” within the meaning of 11 U.S.C. §

                       2 363(m), and, as such, is entitled to the protections afforded thereby.

                       3             16.         Pursuant to 11 U.S.C. § 363(m), absent a stay of this Order pending appeal, the

                       4 reversal or modification on appeal of this Order, or any provision thereof, shall not affect the validity

                       5 of the sale transaction approved hereby which is consummated prior to such stay, reversal or

                       6 modification on appeal.

                       7             17.         The validity of the sale approved hereby shall not be affected by the appointment of

                       8 a successor trustee, the dismissal of the above-captioned case, or its conversion to another chapter

                       9 under title 11 of the United States Code.

                     10                                                         ###

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 SHULMAN HODGES &
      BASTIAN LLP
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    Irvine, CA 92618
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 100
Spectrum Center Drive, Suite 600, Irvine, CA 92618.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF LODGMENT OF ORDER IN
BANKRUPTCY CASE will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 October 25, 2018 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

    •   CHAPTER 7 TRUSTEE: Lynda T. Bui (TR) trustee.bui@shbllp.com, C115@ecfcbis.com
    •   COUNSEL FOR THE DEBTOR: Robert P Goe kmurphy@goeforlaw.com,
        rgoe@goeforlaw.com;goeforecf@gmail.com
    •   COUNSEL FOR U.S. TRUSTEE: Everett L Green everett.l.green@usdoj.gov
    •   COUNSEL FOR CHAPTER 7 TRUSTEE: Rika Kido rkido@shbllp.com, ncarlson@shbllp.com
    •   INTERESTED PARTY: Samuel Kornhauser skornhauser@earthlink.net
    •   INTERESTED PARTY: Joshua Lichtman joshua.lichtman@nortonrosefulbright.com,
        Rhonda.cole@nortonrosefulbright.com
    •   INTERESTED PARTY: Charity J Manee charity@rmbklaw.com
    •   INTERESTED PARTY: William F McDonald Caecf@tblaw.com, wfm@tblaw.com;snchampney@tblaw.com
    •   INTERESTED PARTY: Randall P Mroczynski randym@cookseylaw.com
    •   INTERESTED PARTY: Ronak N Patel                     rpatel@rivco.org, gabgarcia@rivco.org;mdominguez@rivco.org
                                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) October 25, 2018 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Judge's Copy                                                              Debtor
Honorable Wayne Johnson                                                   Russel Dennis Hiles III
United States Bankruptcy Court                                            155 Metate Place
3420 Twelfth Street, Suite 385                                            Palm Desert, CA 92260-7334
Riverside, CA 92501
                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                           Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 25, 2018                          Nicole Carlson                                        /s/ Nicole Carlson
 Date                                      Printed Name                                          Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

   •   INTERESTED PARTY: Steven G. Polard spolard@ch-law.com, cborrayo@ch-law.com
   •   INTERESTED PARTY: Kelly M Raftery bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com
   •   COUNSEL FOR U.S. TRUSTEE: Jason K Schrader jason.K.Schrader@usdoj.gov
   •   INTERESTED PARTY: Anthony Sgherzi anthony.sgherzi@doj.ca.gov
   •   COUNSEL FOR CHAPTER 7 TRUSTEE: Leonard M Shulman lshulman@shbllp.com
   •   INTERESTED PARTY: United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
   •   INTERESTED PARTY: Scott S Weltman colcaecf@weltman.com
   •   INTERESTED PARTY: Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com,
       evette.rodriguez@nortonrosefulbright.com
   •   INTERESTED PARTY: Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
   •   INTERESTED PARTY: Kristin A Zilberstein ecfnotifications@ghidottilaw.com




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June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
